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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    SHABTAI SCOTT SHATSKY, et al.

                                  Plaintiffs,

                        - against -                         Case No. 18 Civ. 12235 (MKV) (DCF)

    THE PALESTINE LIBERATION
    ORGANIZATION and THE PALESTINIAN
    AUTHORITY,

                                  Defendants.



                     EXPERT DECLARATION OF RONNI SHAKED

I.       INTRODUCTION

      A. Credentials
           My full name is Ronni Shaked. Since 2012 I have served as a Principal Research
    Associate in the Harry Truman Institute for the Advancement of Peace at the Hebrew
    University of Jerusalem. In 2015, I was appointed Head of the Middle East unit at the
    Truman Institute. I currently dedicate most of my time to conducting academic research
    and consulting on Palestinian-related issues.

         Between 1969 and 1982, I worked for the Israeli Security Agency (the “ISA”), 1 the
Israeli government intelligence and investigatory agency responsible for combating terrorism
in Israel and in the West Bank and Gaza Strip. I held a number of positions during my
service with the ISA, including: Commander of the Jerusalem Sector, and Commander of
the Ramallah Sector. I specifically dedicated a year of my service in the ISA to the study of
terrorism and the development of theories aimed at defeating it in the West Bank and Gaza,
in addition to the development of theories and procedures for the defense of Israeli targets in
other countries. Throughout my years of work with the ISA, I handled agents who operated
within terrorist organizations, I participated in and conducted interrogations of terrorist
operatives, and I participated in and commanded operations intended to defeat terrorist
operations. I was also responsible for intelligence-related functions such as collecting and
analyzing evidence.




1
 The ISA is also sometimes known as the Shabak or Shin Bet, which are, respectively, an acronym
and the initials of its name in Hebrew (Sherut haBitachon haKlali).


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        From 1982 until 2013, I worked as a commentator and analyst for the newspaper with
the largest distribution in Israel, Yedioth Ahronoth, where I wrote about Palestinian affairs,
terrorism and Islamic fundamentalist organizations and security-related subjects. As a
member of the editorial board, I wrote hundreds of articles, almost all of them about
Palestinian and terrorism related issues.

       During my tenure at Yedioth Ahronoth I interviewed many important members of
designated Palestinian terrorist organizations. I also interviewed Palestine Liberation
Organization (“PLO”) and Palestinian Authority (“PA”) leaders such as Yasser Arafat,
Mahmoud Abbas, Muhammed Dahlan, Jibril Rajoub and Marwan Barghouti.

        From 2004 through 2006, I conducted many interviews of terrorists in Israeli prisons.
The majority of the terrorists whom I interviewed had dispatched other terrorists to perpetrate
terrorist attacks, suicide attack or had commanded terrorist operations. I also interviewed
potential suicide bombers, who had been arrested before carrying out a terrorist attack, as
well as others who had been wounded, but not killed, during the course of the attack.

        In order to confirm my findings and my research, I cross-reference sources of
information by, for example, interviewing sources in different and competing Palestinian
organizations. Similarly, I conduct interviews with Israeli and Palestinian security sources in
order to authenticate information, and I rely on official written reports by the Israeli and
Palestinian security establishments.

       I have a Bachelor’s degree in Middle Eastern Studies from the Hebrew University. I
have a Master’s degree (summa cum laude) in Middle Eastern Studies, with a focus on
fundamental Islam, suicide attacks and Palestinian Islamic organizations, from the Hebrew
University of Jerusalem.

        I have a Ph.D. in Middle Eastern and Social Psychology, with a focus on the
psychological aspects of the Israeli-Palestinian conflict, from the Hebrew University. My
dissertation was “The Palestinian Society’s Ethos of Conflict.”

       I have provided expert declarations or reports in United States federal courts in the
following civil cases:

                   •   Ungar v. Islamic Republic of Iran, 211 F. Supp. 2d 91 (D.D.C. 2002)
                   •   Rubin v. Islamic Republic of Iran, No. 01-cv-1655 (D.D.C. 2003)
                   •   Stern v. Islamic Republic of Iran, 271 F. Supp. 2d 286 (D.D.C. 2003)
                   •   Haim v. Islamic Republic of Iran, 425 F. Supp. 2d 56 (D.D.C. 2006)
                   •   Strauss v. Crédit Lyonnais, S.A., No. 06-cv-702 (E.D.N.Y. 2009)
                   •   Weiss v. National Westminster Bank Plc, No. 05-cv-4622 (E.D.N.Y.
                       2010)
                   •   Linde v. Arab Bank Plc, No. 04-cv-2799 (E.D.N.Y. 2011).
                   •   Gill v. Islamic Republic of Iran, No. 15-cv-2272 (D.D.C. 2017).


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                  •       Weinstock v. Islamic Republic of Iran, No. 17-cv-23272 (RNS 2018).
                  •       Baxter v Islamic Republic of Iran, No 11-cv-2113 (D.D.C. 2018)
                  •       Steinberg v. Islamic Republic of Iran, No. 17-cv-1910 (D.D.C. 2019)

       I have offered testimony at deposition, hearings or trial in the following civil cases:

                   • Ungar v. Islamic Republic of Iran, 211 F. Supp. 2d 91 (D.D.C. 2002)
                   • Rubin v. Islamic Republic of Iran, No. 01-cv-1655 (D.D.C. 2003)
                   • Strauss v. Crédit Lyonnais, No. 06-cv-702 (E.D.N.Y. 2009)
                   • Weiss v. National Westminster Bank Plc, No. 05-cv-4622 (E.D.N.Y.
                     2011)
                   • Linde v. Arab Bank Plc, No. 04-cv-2799 (E.D.N.Y. 2014).
                   • Baxter v. Islamic Republic of Iran, No. 11-cv-02133 (D.D.C. 2018).

I have authored or co-authored five books:

                      •    Ronni Shaked and Aviva Shabi, Hamas: From Belief in Allah to the
                           Path of Terror, Keter Publishing House, Jerusalem (1994).
                      •    Ronni Shaked and Shlomo Harari, Capucci, Yedioth Ahronoth
                           Books, Tel Aviv (1995).
                      •    Ronni Shaked, On the Fence: The Palestinians in Israel: National
                           Radicalism, Carmel, Jerusalem (2012).
                      •    Ronni Shaked and Botun Mas’ud, From Jerusalem to Damascus and
                           Back: An Intelligence Agent Behind Enemy Lines, Lavie P.
                           Enterprise Publication, Jerusalem (2012).
                      •    Ronni Shaked, From Behind the Kaffiyeh – The Conflict from the
                           Palestinian Perspective, Yedioth Ahronoth, Tel Aviv (2018). The
                           book was a bestseller and won a prestigious award in Israel.

      I have made the documentary film “For the Sake of Allah” (2006) dealing with
fundamentalist Islam, especially Hamas and its suicide terror attacks.

       Between 2012-2018 I have written, directed and edited six documentary films dealing
with Palestinian terrorism in Gaza focused on Hamas.

       I have also served as an expert consultant for several documentaries relating to Hamas
and other Palestinian terrorist organizations, including:


                      •     “Collaborators” (1995)
                      •     “The Army of Roses – Women Suicide Bombers” (2002)
                      •     “The Engineer of Death” (2003)
                      •      “To Die in Jerusalem” (2008).

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       I have worked as a consultant for many governmental entities, including the United
States Federal Bureau of Investigation, the United States of Department of State, and the
United States Department of Justice. From 1991-2001, I also served as a consultant to the
Anti- Defamation League.

       I have served as a commentator on Israeli television and radio. I have also served as
a commentator on Arabic-language television stations, such as Al Jazeera, Al Arabiya and
Al Hura. I also appeared as a regular commentator for the broadcast radio channel Radio Lelo
Hafsaka.

        Since 1988 until the present I have been invited to lecture officers of the Israel
Defense Force (the Israeli army) on numerous occasions as an expert on Middle East
terrorism and Islamic fundamentalism.

        I have been invited to give briefings on Palestinian terrorism to the Foreign Affairs
Committee of the U.S. House of Representatives, (senior staff briefing, January 1996); to
U.S. Senator Evan Bayh, (1999, four-hour briefing); to the Extra-Parliamentary Foreign
Affairs Committee (London 1999); to the Federal Bureau of Investigation (in 1997 and
2000); to the United States State Department (1992); to the Anti-Defamation League (1991-
1995); and, at the request of the United States Embassy in Israel, to various embassy staff
and visiting U.S. government officials.

       I was invited to lecture on Palestinian terrorism and Hamas at the International
Security and Defense Institute (May 2000) and at McGill University, Montreal (1997).

        I have served as an advisor on Palestinian terrorism and Islamic fundamentalism to
the Ministry of Foreign Affairs, State of Israel; to the Israeli Police; and to the Office of the
United States Attorney, Middle District, Florida - Special Committee on Islamic Jihad
(2000).

        As part of my professional work and research I frequently interview and speak with
operatives and members Palestinian terrorist groups, and exchange information with
American, Israeli and Palestinian security and intelligence officials. I also frequently have
access to documents and evidence gathered by Israeli and American intelligence and law
enforcement agencies, including statements and confessions made by captured operatives
and members of terrorist groups. My knowledge of and familiarity with the matters discussed
herein is based on the expertise I have developed during many decades of on-going research,
study and publishing. My methods of research and formulating conclusions are widely
accepted and relied upon by other experts and scholars who research, study, publish and teach
the Palestinian-Israel conflict generally, and Palestinian terrorism in particular.

        I am fluent in spoken and written Hebrew, Arabic and English, and qualified to
translate between these languages.
      I received a fee in the amount of $150 per hour for the time that I spent
working on this declaration. I confirm that I do not have any connections or relationships –

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whether professional or personal – with any of the parties or the witnesses in this trial, which
would prevent me from giving impartial evidence.
      B. Nature and Purpose of Report

        I have been asked by the attorneys for the plaintiffs in the above-captioned case to
provide an expert declaration on matters related to the Popular Front of the Liberation of
Palestine (PFLP) and the terrorist attack at issue in this case, as set forth below.2
      C. Background About the PFLP
         The Popular Front for the Liberation of Palestine (‫اﻟﺠﺒﮭﺔ اﻟﺸﻌﺒﯿﺔ ﻟﺘﺤﺮﯾﺮ ﻓﻠﺴﻄﯿﻦ‬, or PFLP)
is the third-largest Palestinian organization in the West Bank and Gaza Strip and the second-
largest faction within the PLO. The Popular Front was founded on December 11, 1967, by
Dr. George Habash. The ideology of the Popular Front combines nationalism and Marxism.
The final objective, as the Popular Front sees it, is the liberation of Palestine; the validity of
that objective is considered by the Popular Front to be axiomatic and indisputable, and
accordingly the struggle is long-term.3
        The entire purpose of the Popular Front for the Liberation of Palestine is armed
struggle and the establishment of a democratic and socialist Palestinian state. The destruction
of Israel is not viewed by the Popular Front as a religious or merely national struggle, but
rather as a broader revolution against the imperialist West. The elimination of Israel is a
means to the expulsion of imperialism from the Middle East and the eradication of the
reactionary Arab regimes. The color red is a prominent component of the Popular Front
emblem. The color red and the hammer reflect socialist ideology; the rifle, which also appears
in the Popular Front emblem and on its posters, symbolizes the armed struggle against Israel.

       The Popular Front has toned down its position over the years. Nonetheless, after the
signing of the Oslo Agreements, to which it objected, it broke away from the PLO, and only
in 1999 did it rehabilitate its relationship with Yasser Arafat. In recent years, the Popular
Front has basically accepted the two-state vision, but withoutwaiving the right of return
for the Palestinian refugees. On the tactical level, the Popular Front prefers grandiose
operations which attract the attention of internationalpublic opinion to the Palestinian issue.


2
  The expert report dated February 14, 2013, that I provided in the previous action by the plaintiffs
against the defendants, addressed the involvement of the PFLP and Ra’ed Nazal in the February 16,
2002, bombing. Plaintiffs’ counsel have informed me that they are presenting other evidence
regarding these matters in this case, and that I need not address these topics in this declaration, but
that I should assume for the purpose of this declaration (consistent with the opinion I set forth in my
report) that the PFLP carried out the attack.
3
 On the Popular Front and its ideology, see Matti Steinberg, Facing their Fate: Palestinian National
Consciousness, 1967-2007 [Hebrew] (Tel Aviv, Hemed Books, 2008), pp. 93-115; and Eli Galia,
George Habash - Political Biography Ideology and Politics in the Struggle for Palestine [Hebrew]
(Tel Aviv, Resling, 2017), pp. 175- 207.



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        The ideology of the Popular Front is based on that of the Arab Nationalist
Movement (al-Qawmiyun al-Arab, ‫)اﻟقَ ْو َمﯿون ْاﻟ َﻌ َﺮب‬.
                                                     ْ 4 The Arab Nationalist Movement was
founded at the American University of Beirut following the defeat in the 1948 War. At that
time, a group of students and academics formed under the leadership of George Habash and
Wadie Haddad.5 Subsequently, the Popular Front was founded. The central questions which
preoccupied the members of the group concerned the Israeli-Zionist threat, the relations
between the Arabs and the West, and the future character of the regimes in the Arab
countries.6

        The ideology of the Arab Nationalist Movement was shaped by the reality of the Arab
world during the years 1948 to 1961.7 The Arab Nationalist Movement espoused the cause
of the unification of the Arab world on the basis of solidarity, democracy, and economic and
social development. It believed that the unity of the Arab nation would lead to Arab liberation
from Zionism and imperialism and the elimination of the State of Israel, which the members
of the movement considered asa foreign entity, planted in the heart of the Arab world. The
elimination of the barriers between the various Arab states would assist in the formation of
an Arab bloc which could withstand the Jewish State – a state which threatened the entire
Arab nation,and not only the Palestinians. The objective of the movement’s members was to
establish a Palestinian state on the entire territory of Palestine, on both banks of the Jordan
River, East and West, following the dismantling of the State of Israel.

         The Arab Nationalist Movement viewed Israel as a total enemy, the spearhead of
Western imperialism in the Middle East, through which the West was seeking to re-establish
its rule in the area. The socioeconomic structure of the future united Arab state, as the Arab
Nationalist Movement saw it, would be socialist, popular, revolutionary and democratic. The
union would be achieved after the struggle for liberation from the bonds of imperialism and
the healing of the wounded national pride.

         While the Arab Nationalist Movement maintained a presence in the Palestinian
territories before 1967, its ideology was pan-Arab.8 The establishment of the PLO and Fatah,
and especially the 1967 War, shifted the focus to the Palestinian arena. George Habash and
his colleagues switched their emphasis from pan-Arabism to the Palestinian struggle. Habash
established the Popular Front for the Liberation of Palestine by uniting a number of leftist
Palestinian organizations, which combined a Marxist-Leninist ideology with Palestinian

4
 Moshe Shemesh, The Arab National Renaissance [Hebrew] (Beersheba, Ben-Gurion University,
2012), p. 190.
5
 Kazziha, Walid, Revolutionary Transformation in the Arab World: Habash and his Comrades from
Nationalism to Marxism, New York: St. Martin’s Press, 1975, p. 18.
6
    Ibid., p. 3.
7
    Ibid., p. 47.
8
 See Mustafa Kabha, The Palestinians: A People in Dispersion [Hebrew] (Tel Aviv, Open
University), pp. 176-177, 223-225.


                                              6
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nationalism. Since its inception, the organization has supported armed struggle and a national
war of liberation as the solution for the Israeli-Palestinian conflict.9 In recent years,
ideological disputes have led a number of groups to split off and break away from the Popular
Front. In its first years, the Popular Front perpetrated a series of terrorist operations,
principally involving the hijacking of aircraft. In one of these, an American TWA plane was
hijacked in August 1969. The Popular Front also collaborated with the Japanese Red Army
in carrying out the massacre at Lod Airport on May 30, 1972. The Popular Front was
supported by Syria. In November 1988, the Popular Front participated in the Palestinian
National Council, which accepted United Nations Resolution 242; subsequently, the Popular
Front established the Refusal Front. The organization took part in the first intifada. The PFLP
openly criticized the Oslo agreements, but most of its leaders and commanders returned to
the Palestinian territories after the establishment of the Palestinian Authority in 1994.10
During the 2000-2005 al-Aqsa Intifada (also known as the “Second Intifada”), the PFLP
prominently carried out a number of special terrorist operations, including the assassination
of the Israeli Minister of Tourism, Rehavam Ze’evi. The PFLP also carried out suicide
bombings during the Second Intifada, including the bombing that is the subject of this case.

         In May 2000, George Habash withdrew from the leadership of the PFLP for reasons
of health. Abu Ali Mustafa, who was selected to replace him, came to the West Bank and
settled in Ramallah. On the basis of his involvement in terrorist operations, he was eliminated
by Israel in August 2001. After his death, the military arm of the Popular Front was renamed
in his honor the “Abu Ali Mustafa Brigades.” His successor, Ahmad Saadat, led the Popular
Front in the assassination of the Israeli Minister of Tourism, Rehavam Ze’evi, in revenge for
the elimination of Abu Ali Mustafa. Ahmad Saadat was arrested by Israel and sentenced to
30 years’ imprisonment.

          In 2000, Abu Ali Mustafa stated in an interview to the Al Jazeera network:
                “We believe that our conflict and our struggle with Israel are a
                strategic matter, which is not subject to any consideration whatsoever.
                Even if there are conditions under which a peace arrangement could
                be discussed, we do not consider that as either an arrangement or
                peace. We believe that the Palestinian people, which is in exile on one
                hand and under occupation on the other, has the right to struggle by
                any means, including armed struggle, because we believe that the state
                of conflict is what is constant, and what may change is the methods
                and the tactics. That is our policy.” 11



9
 Kabha, ibid., p. 224. See also Guy Bechor, PLO Lexicon [Hebrew] (Tel Aviv, Ministry of Defense
1995), p. 124.
10
     Guy Bechor, ibid., pp. 127-128.
11
     Al Jazeera Television, May 10, 2000.


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II.     EXPERT OPINIONS

      A. The PA And PLO Provided Material Support and Resources to the PFLP
         Which Facilitated the February 16, 2002, Bombing

        The basis and reasons for my opinion are as follows:

        Background
         During the June 1967 Six-Day War, Israel captured the West Bank and the Gaza Strip
from Jordan and Egypt, respectively. Between 1967 and 1994, Israel exclusively governed
the West Bank and Gaza (first through a military government and later through a Civil
Administration). However, beginning in 1994, pursuant to the series of agreements between
Israel and the PLO known as the Oslo Accords, Israel began “redeploying” (i.e., removing
all its security forces and civilian personnel) from Palestinian population centers (i.e., cities
and villages) in the West Bank and Gaza Strip. The Oslo Accords also provided for the
creation of the Palestinian Authority, which was established in 1994. Governmental powers
in the areas evacuated by Israel, including security and police authority, were turned over to
the Palestinian Authority. Under the Oslo Accords, the West Bank is divided into three
governmental regions: Area A, consisting of the major Palestinian cities (Ramallah, Jenin,
Tulkarem, Nablus, Qalqilya, Bethlehem and Jericho) in which the Palestinian Authority has
full security and civil powers; Area B, consisting of over 400 Palestinian villages, in which
the Palestinian Authority has police powers and full civil authority; and Area C, which is
populated mostly by Israelis and governed by Israel.12
        By early 1996, Israel had completed the vast majority of these withdrawals. The cities
of Area A, including Ramallah, Jenin, Tulkarem, Nablus, Qalqilya, Bethlehem and Jericho,
containing 26% of the Palestinian population in the West Bank, and the villages in Area B,
in which lived another 70% of West Bank Palestinians, had come under Palestinian
Authority control. By March 2000, Israel completed two further, smaller redeployments, as
the result of which Area A covered over 18% of West Bank territory, and Area B covered
another 21% of the West Bank.13
        Under Israeli legislation in the West Bank and the Gaza Strip, the PFLP was (and still
is) designated an illegal organization, and its activities were (and are) barred as illegal. Until
1994, Israeli security forces and law enforcement authorities were able to enforce the ban
against the PFLP and its activities throughout the West Bank and Gaza, and as a result its

12
 The Gaza Strip (which in any case since 2007 has been governed by Hamas) and the city of Hebron
were subject to special arrangements under the Oslo Accords, which are not relevant here.
13
   See The Third Phase of the Further Redeployment Process: Legal Aspects, Israel Ministry of
Foreign      Affairs    (June    18,  2000),  available   at   https://mfa.gov.il/MFA/MFA-
Archive/2000/Pages/The%20Third%20Phase%20of%20the%20Further%20Redeployment%20Proc
es.aspx (last accessed Oct. 1, 2021).


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ability to carry out terrorist attacks was very limited. The same was true for other Palestinian
terrorist organizations. However, as Israel withdrew from the Palestinian population centers
in the West Bank and Gaza, the Palestinian Authority permitted and assisted the PFLP (and
other terrorist organizations), to organize and operate in the geographical areas (i.e. Areas A
and B) that came under Palestinian control. As a result, the size, strength and operational
abilities of the various Palestinian terrorist organizations in the West Bank and Gaza,
including the PFLP, grew enormously after Israel withdrew from Area A and Area B. 14
        Provision of Support
       Needless to say, terrorist organizations such as the PFLP require a physical,
geographical “safe space” in which to organize, recruit and operate. That safe space, which
was denied to the PFLP under exclusive Israeli rule of the West Bank and Gaza Strip between
1969-1994, was provided to PFLP by the defendants.15 During the years prior to the February
16, 2002 bombing, the defendants permitted the PFLP to operate offices in at least five of the
seven cities within exclusive Palestinian Authority jurisdiction in the West Bank – namely,
Qalqilya, Ramallah, Nablus, Jenin and Tulkarem – and funded those offices as well.16
        The PFLP’s serious need for that funding is evidenced in the documents provided by
the defendants regarding their funding of the PFLP’s office in Qalqilya. On January 30, 2000,
Tayseer Qubaa, a senior PFLP leader, addressed a letter to Yasser Arafat and asked him to
approve the amount of 4,000 dinars for the rental of the building for the Popular Front in
Qalqilya, “in light of the financial situation of the Popular Front, of which you are well
aware…”.17 Soon after that, a contract was signed between by the PFLP and Muhammad
Zaid (the landlord), for the rental of a “general office” for the organization in the city of



14
   As a result, beginning in 1994, the size, scope, frequency and sophistication of Palestinian terror
attacks against Israeli targets increased dramatically.
15
   The Palestinian Authority’s full control over Area A and its extensive control over Area B
effectively ended only after Israeli launched operation “Defensive Shield” on March 29, 2002. The
trigger for that operation was a suicide bombing at a Passover seder on March 27, 2002, at the Park
Hotel in the city of Netanya, in which some 30 celebrants, mostly elderly, were killed. During
Defensive Shield, Israeli forces operated throughout Area A and Area B for an extended period,
destroying the terrorist infrastructure that had been created during the years of exclusive Palestinian
control, and arresting thousands of terrorists. Since that time Israel has exercised freedom of
movement in Area A and B as necessary. Prior to Defensive Shield, however, Israel left Area A to
the exclusive security control of the Palestinian Authority (with the exception of a small number of
brief and geographically limited forays by Israeli security forces, as the Second Intifada intensified).
16
   See the deployment of Popular Front offices in 2001-2002 listed (along with contact information)
in the authoritative PASSIA business directory. SHATSKY-003288-90; SHATSKY-003291-93. See
also the September 11, 2012, deposition testimony of Nadime Barahme at p. 28.
17
  This letter appears in Defendants’ Bates No. 07:000041. Qubaa’s request clearly indicates that the
cost of renting the office was a heavy one for the Popular Front, which, at the time, was in economic
difficulties.


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Qalqilya, in consideration for 4,560 Jordanian dinars. The contract entered into force on June
1, 2000.18
        On July 6, 2001, Tayseer Qubaa wrote to Sami al-Ramlawi, the Director General of
the Palestinian Ministry of Finance at the time, in a letter in which he asked for the continued
payment of the rent on the building which was used by the Popular Front in Qalqilya, in
accordance with the instructions by Arafat.19 These requests apparently prompted PA
Ministry of Finance officials to handle the transfer of the rent to the landlord, and the Ministry
of Finance issued a check in the amount of 4,560 dinars to the order of Zaid. Additional
documents show that the landlord received a full exemption from taxes and other imposts on
his income from the rental of the building to the Popular Front.20
        These documents show, therefore, that the PFLP had a significant need for this
financial support due to its “financial situation,” and that the defendants’ leader, Yasser
Arafat, personally approved the monetary support to the PFLP.
        By allowing to the PFLP to operate offices throughout PA territory, and by funding
those offices, the defendants significantly enhanced the PFLP’s ability to operate in general,
and to carry out terrorist attacks specifically. Without offices, it would have been extremely
difficult for the PFLP to exist and operate as an organization; having offices in PA
jurisdiction allowed the PFLP to spread propaganda, hold meetings, recruit members, employ
and train staff and plan and execute its activities. The PFLP would have had virtually no
organizational existence or operational capabilities (including the capability to plan and carry
out terrorist attacks) but for those offices. Indeed, there is abundant evidence, from the
convictions of various PFLP terrorist operatives, that during this period the PFLP used its
offices in the West Bank - the same offices funded by the defendants - specifically to recruit
terrorists, and to provide funding to terrorists.21
        The defendants facilitated the February 16, 2002 attack in additional ways. Between
1999 and through February 16, 2002, the PLO provided a car, driver, and apartment for Abdel
Rahim Malouh, who was the PFLP’s Deputy Secretary-General and as such the second-most
senior official in the PFLP.22 In this way, the PLO subsidized Malouh during the three year

18
     Defendants’ Bates No. 000042.
19
     Defendants’ Bates No. 07:000040.
20
     Defendants’ Bates Nos. 07:000035; 07:000038; 07:000039.
21
   See e.g. Verdict dated November 5, 2003, in Case No. 41430/01 (Judea) Prosecutor v. Fares
Barghouti and Verdict dated December 1, 2008, in Ser.Crim. Case 7027/06 (Jerusalem) State of Israel
v. Gholmeh; Decision dated December 9, 2001, in Misc. Mot. 7344/01 (Jerusalem) State of Israel v.
Ibrahim Ayubi; Sentencing Decision dated July 6, 2010, in Serious Crim. Case (Beersheva) 1088-08
State of Israel v. A.A.; Verdict in Case No. 6358/03 (Samaria) Prosecutor v. Nuraddin Said Daoud
(Titan); Appellate Decision dated October 27, 2004, in Appeal No. 57/04 (Judea and Samaria),
Hassan Judeh v. Prosecutor.
22
     See transcript of the deposition of Abdel Rahim Malouh, September 5, 2012, at pp. 12-13, 36-37.


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period prior to the bombing, and allowed him to carry out his PFLP activities full-time, and
without financial distractions.
        The defendants’ support for Malouh was especially critical to the operations of the
PFLP during the months immediately preceding the February 16, 2002 bombing. That is
because in October 2001, following the PFLP’s assassination of former Israeli minister
Rehavam Ze’evi, the leader of the PFLP, Ahmed Saadat, became a fugitive and his ability to
run the PFLP was limited. That effectively left Malouh – financially supported by the PLO
– as the senior official running the PFLP during the 4 months prior to the bombing.23
        Additionally, and no less importantly, between January 2000 and February 2002, the
PA paid a salary to Ra’ed Nazal (as a Captain in the PA National Security Force) while it
knew full well that Raed Nazal was in fact serving as the head of the PFLP’s “military” (i.e.
terrorist) activities in Qalqilya.24 Ra’ed Nazal served as a member of the Central Committee
of the Popular Front and was in charge of the PFLP, including its military arm, in Qalqilya.25
Ra’ed Nazal was the Secretary of the Popular Front organization in Qalqilya and was selected
for that position by its institutions.26 A PA General Intelligence (GIS) report dated February
8, 200227 states that Ra’ed Nazal was “a member of the Central Committee of the Popular
Front, a fellow traveler of Abu Ali Mustafa,28 and the person responsible for the military arm
of the Popular Front in Qalqilya.”29 The report goes on to state that Nazal “is a member of
the Popular Front and is armed.” The report adds that, in the estimation of the GIS, Ra’ed
Nazal is “a brave and daring person.” Defendants’ files on Ra’ed Nazal indicated that he was
responsible, inter alia, for the weapons of the Popular Front in Qalqilya.30
        It is important to realize in this context that the Popular Front is (and was) a tightly
run, disciplined and hierarchical organization. This strict organizational culture is part of the
PFLP’s general dedication to the fine details of its Marxist/socialist ideology and worldview.
For example, the head of the PFLP, Ahmed Saadat, was personally involved in deciding
which individual PFLP operatives should be involved in terrorism, and which specific attacks


23
     Malouh himself was arrested by Israel in June 2002.
24
     Defendants’ Bates No. 07:000189; 07:000206; 07:000055 through 07:000062
25
   On the central role which he played in the Popular Front and in its military wing, see documents
from his personal GIS file, Defendants Bates No. 07:000187, dated December 10, 1999; Defendants’
Bates No. 000178, “Security check dated February 8, 2002.”
26
  See https://pflp.ps/post/7993/‫بقﻠقي‬-‫مصﻄفى‬-‫أبوعﻠي‬-‫كﺘائب‬-‫قائد‬-‫السﺘﺸﮭاد‬-‫عﺸﺮ‬-‫اﻟثانﯿﺔ‬-‫اﻟﺴنوﯾﺔ‬-‫( اﻟذكﺮى‬last
accessed Oct. 1, 2021); Defendants’ Bates No. 000187-191.
27
     See Defendants’ Bates No. 07:000187-191.
28
     Secretary General of the Popular Front from 2000 until 2001.
29
  Raed Nazal was apparently “awarded” this rank upon his release from prison, following the Sharm
el-Sheikh Agreement of September 1999; see Defendants’ Bates No. 07:000206.
30
     Defendants’ Bates No. 07:000192 - 07:000194.


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should be carried out or not carried out.31 Moreover, the February 16, 2002, bombing was
not a simple terrorist operation. Aside from the fact that the attack took place in the heart of
a Jewish community during a period when violence was widespread and security was tight,
the Israeli Police crime scene report from the bombing shows that it was a sophisticated and
well-planned bombing using a professionally constructed explosive device.32 An attack of
this type required the involvement of an organizational team.
        By financially supporting the commander of PFLP terrorist activity in the Qalqilya
region for two years prior to the bombing - thereby allowing Ra’ed Nazal to spend his time
planning recruiting and training terrorists and planning and executing attacks – the
defendants greatly increased the PFLP’s ability to plan and carry out the February 16, 2002,
bombing, whether or not Ra’ed Nazal was personally involved in that attack.


        B. The PA And PLO Knew, in the Period 2000-2002, That the PFLP Was
           Virulently Anti-Israel, Antisemitic and Anti-American, and Strongly
           Advocated and Was Involved in Terrorism Against Jewish Targets
            The basis and reasons for my opinion are as follows:
         As is evident from the discussion, and the summaries of articles published by the
PFLP’s official magazine, al-Hadaf, between 1999 and 2002, included in Appendix 1
(attached to and incorporated into this Declaration33), the PFLP was strongly opposed to
the peace process with Israel at that time and in favor of armed struggle – i.e., terrorism.
The articles summarized in Appendix 1 contain numerous diatribes against Israel and the
Jews, including articles denying the Holocaust and glorifying Palestinian martyrdom.

          In addition, in the July 2001 issue of al-Hadaf, the PFLP published a detailed list
of terrorist attacks which it perpetrated between October 2000 and June 2001, listing a total
of 116 attacks in Israel and the West Bank. These attacks included shootings, mortar attacks,
grenade attacks, and attacks using other explosive devices.34




31
   See Verdict dated December 25, 2008, in Case No. 2958/06 (Judea) Prosecutor v. Ahmed Saadat;
Verdict dated November 5, 2003, in Case No. 41430/01 (Judea) Prosecutor v. Fares Barghouti;
Verdict dated December 1, 2008, in Ser.Crim. Case 7027/06 (Jerusalem) State of Israel v. Gholmeh;
Sentencing decision dated September 11, 2001, in Ser.Crim Case 4028/01 (Jerusalem) State of Israel
v. Saad Salameh.
32
     See Israeli Crime Lab Report dated March 13, 2002, File No. 649/02.
33
     Appendix 1 hereto was also attached to my February 14, 2013, expert report.
34
     See Appendix 1, Exhibit 1-L.


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I.       The al-Hadaf Journal

         1. Scope of Engagement

I have been asked to provide my expert opinion on the Palestinian monthly called al-Hadaf and
to determine whether al-Hadaf: is the official mouthpiece of the Popular Front for the Liberation
of Palestine ("PFLP" or the "Popular Front"), belongs to the PFLP and is part of its public
relations system.


         2. General Background
I have studied the subject, reviewed material which is in my possession and material from the
academic literature, and gone over Israeli, Arab and especially Palestinian press clippings which
refer to the journal al-Hadaf. I have studied issues of the al-Hadaf journal and have read articles
and news items that were printed in it.1

My many years of experience are based on my service with the Israel Security Agency, the 30
years during which I worked as a journalist for the newspaper Yedioth Ahronoth, as a
correspondent in matters involving the Palestinians, and as a researcher at the Truman Institute
of the Hebrew University of Jerusalem, where I study the ethos of the conflict in Palestinian
society, with emphasis on each of the organizations within the PLO. I am aware of the
subjective, manipulative and biased use which each faction and organization make of their
newspapers and periodicals. Therefore, I do my best to study the periodicals and newspapers in a
critical way, while relying on the knowledge and experience which I have accumulated over
many years in the Palestinian area. As a general rule, I read the daily press on an ongoing basis; I
also read Palestinian periodicals and journals – all in order to remain up to date, to learn about
the political and public discourse of the organizations, and to learn about the feelings, ideology
and changes which take place within them.


         3. Newspapers and Journals in the Service of the Palestinian
            Organizations
The communications media constitute a tool for the dissemination of knowledge and the creation
of awareness. Every organization and every social and political movement which seeks to
disseminate its ideology and to expand its ranks must make use of the media. The ideal situation

1
  I read issues of al-Hadaf at the Truman Library at the Hebrew University of Jerusalem, where its issues from its
inception and up to the end of the 1980s are to be found. The issues starting at the end of the 1980s are to be found
in the library of the Dayan Institute at Tel Aviv University. The issues of the last few years can be read on the
Internet, on the al-Hadaf website.



                                                         1
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is that the social movement will have a communications medium of its own, in which it will be
able to disseminate its ideology and maintain a system of delegitimation against its opponents.

Since the formation of the Palestinian organizations, each of them has established its own
communications media and especially journals 2 as a tool for the dissemination of ideology,
mobilization, motivation and the creation of a supportive environment. Thus, for example, as
early as they beginning of the 1960s, the Fatah organization established the periodical
Filastinuna – “Our Palestine”3; Hamas established a ramified media system of television
stations; the Popular Front, the Democratic Front, and the Tahrir (“Liberation”) Party founded
journals. The journal which was founded by the Popular Front is called al-Hadaf.4 All of the
Palestinian organizations, even the smaller and more ephemeral ones, have web sites.

The various organizations which comprise the PLO – including the religious faction, the national
faction and the leftist, Marxist-national faction – are separated by profound ideological
differences. Each of their communications media, each journal of each organization,
disseminates and emphasizes its own ideology, including by way of comparison to the ideologies
of the rival organizations. Each journal has its own symbols, its own authors, and its own
pictures, as well as the background colors in which the journal is distributed. These outward
signs constitute primary evidence of the organizational and political affiliation of the journal.

From my experience and on the basis of my study of the various journals of the organizations
that comprise the PLO, it appears that the Palestinian organizations make similar use of journals,
including the way in which they divide the journals into sections. Thus, for example, there are
the following sections: Palestinian news; Arab news; international news; Israel news; military
activity of the organization; the fallen, which includes biographies; general information about
what is happening within the organization; editorial; literature and poetry; and sometimes even
sports. In each and every such section, each journal makes sure to represent the ideology of the
organization which it serves. The structure of the sections within the journals, which is more or
less similar to that of the sections within the web sites of the organizations, makes it possible to
compare the various concepts of the organization with its events, to identify more easily the
organization to which the journal belongs and whether it is the official journal of the
organization. It is only natural for each organization to focus on the news most closely related to
the organization itself, to publish photographs of its commanders and leaders, and to publish
reports on the protest operations, including those characterized by violence and terrorism, which
it has carried out.



2
    When I use the term “journal”, I am referring to daily, weekly and monthly newspapers and other periodicals.
3
    Mustafa Kabha, The Palestinians: A People in Dispersion [Hebrew] (Tel Aviv, Open University, 2010), p. 204.
4
    Kabha, ibid., p. 223.



                                                           2
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As a general rule, the newspapers of organizations and political parties, and certainly those of the
Palestinian organizations, do not conceal their political-ideological identity. Quite the opposite is
true: they emphasize it. Even in the case of al-Watan, an underground newspaper which was
distributed by the Communist Party in the Palestinian territories during the 1970s, the paper
openly bore the name of the Communist Party. The front page of every journal features symbols
of the organization, photographs of its commanders or photographs related to an event linked to
the organization in question.

A frequently occurring component of journals consists of speeches, interviews or comments by
leaders of the organization. The journals feature official news of the organization, cover all of the
conferences and rallies, and include articles on operations which were carried out.

Palestinian society, both within and outside the Palestinian territories, can easily identify which
organization a journal represents – not only according to symbols or after studying the content,
but because of the many years of distribution which has transformed the journals into part of the
landscape of political discourse. In Palestinian society, where the social networks are dense, the
activists of the various organizations are well known in every village, every urban neighborhood
and every refugee camp. In many cases, journals are distributed to the general public by activists
of the respective organization. This is an additional sign attesting to the identity and affiliation of
the journal.


           4. Methodology
Holsti defined content analysis as any technique of making inferences by objectively and
systematically identifying specified characteristic of a message (Holsti, 1969).5 The analysis in
this study is qualitative analysis.

The methodology which I will use is founded on my professional experience, which is based on
the period of my work for the Israel Security Agency; the experience which I gained in the
course of my work as a journalist responsible for covering Palestinian society for the Yedioth
Ahronoth newspaper; the experience and knowledge which I acquired during my studies at the
Hebrew University of Jerusalem; and the research studies which I carried out at the Truman
Institute of the Hebrew University of Jerusalem.

My examination of al-Hadaf issues was performed according to the following criteria:

     Content of journalistic articles.

     Symbols, pictures, posters.

5
    Holsti, O.R., Content Analysis for the Social Sciences and Humanities (New York, Addison-Wesley, 1969).



                                                         3
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      The ideology which the journal publishes and represents.

      Official publications which appear in the journal.

      Content of articles which reflect an organizational affiliation or ideology.

      Use of code words.

      Photographs of leaders and general photographs.

      Death notices and eulogies for the fallen.

      Identification of the journal by the Palestinian public as the mouthpiece of the Popular Front.

      References to al-Hadaf by the official web site of the Popular Front.


           5. The name and logo of the journal
The name of the journal is al-Hadaf, which means “The Target”. The target is the liberation of
Palestine. Until the 1980s, the logo consisted of circles denoting a target. Below the circles
appeared photographs of Ghassan Kanafani, a member of the political chamber of the Popular
Front and the first editor of the newspaper, who was eliminated by Israel in 1972. Next to the
name al-Hadaf, the following text appears: “The paper was founded by the author and martyr
Ghassan Kanafani in 1969. An Arabic political [newspaper].” Above the name al-Hadaf appears
the motto of the paper: “The whole truth for the masses”.6 Since the 1990s, the picture of the
target appears inside the Arabic letter ha in the name al-Hadaf, and the photograph of Ghassan
Kanafani appears separately, on page 2.

Each of the issues of the periodical includes four pages printed in color: the cover page, the back
page, the second page and the page before last. The pictures in dozens of issues which were
examined reflect a number of central motifs: the delegitimation of Israel, pictures of leaders of
the organization, and pictures of activities of the organization. Especially prominent are pictures
from the time of the intifada, which reflect violent terrorist operations, or as the terrorists
describe them, “résistance”. The majority of the pictures on the other pages of the journal
principally consist of photographs of personages, generally Popular Front commanders, as well
as photographs of terrorist squad members and photographs of events and conferences. Most of
the pictures of the personages are of George Habash, Abu Ali Mustafa and Ghassan Kanafani.




6
    Guy Bechor, ibid., p. 81.



                                                     4
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           6. The date of issue of the periodical and the location of the editorial
              office

The periodical was first published in 1969 in Beirut. During the 1990s, the editorial office was
moved to Damascus, where it is located to this day, although the editor-in-chief lives in
Ramallah.

Following are the addresses of the editorial office and the branch offices:

The main office is located in the Yarmuk refugee camp near Damascus. The address of the
editorial offices is: P.O. Box 30192, Damascus. The telephone in Damascus, Syria is 0096311-
6328267, facsimile 6319374.

The address of the office in Ramallah is: Clock Square, al-Midan Building, third floor,
telephone: XX-XXXXXXX.

The address of the office in Gaza is: al-Saraj Tower, Information Office of the Popular Front,
telephone: XX-XXXXXXX.


           7. The editor of the journal

The present editor of the journal al-Hadaf is Omar Shehadeh, a member of the political chamber
of the Popular Front for the Liberation of Palestine.7 Omar Shehadeh also represents the Popular
Front at various events, such as a Palestinian conference which took place in Paris in December
20128 or a Popular Front conference which took place early in 2013 in the town of Arabeh in
Northern Samaria.9 The editorial board includes Jawad Aqal, Yusuf al-Salibi, Ahmad M. Jabbar,
Dr. Ahmad Abu Namus.

Jawad Aqal is a former resident of the village of Beit Reema near Ramallah. He is a member of
the political chamber of the Popular Front and a former spokesman for the organization10; he also
serves as a representative of the organization in Syria. 11 The first editor of the journal, Ghassan
Kanafani, was a member of the political chamber of the Popular Front and a spokesman for the


7
    http://www.kataebabuali.ps/arabic/news.php?action=show&id=768.
8
    See http://www.alwatanvoice.com/arabic/news/2012/12/12/342365.html.
See also http://maannews.net/arb/ViewDetails.aspx?ID=546687.
9
    http://www.alhayat-j.com/newsite/details.php?opt=3&id=182088&cid=2690.
10
     http://www.beitreema.com/politicalhistory.html.
11
     http://ar.wikipedia.org/wiki/%D8%A8%D9%8A%D8%AA_%D8%B1%D9%8A%D9%85%D8%A7.



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organization. His successor, Bassam Abu Sharif, was a spokesman for the Popular Front a
member of its political chamber.


            8. The al-Hadaf Website
The journal al-Hadaf has a web site, http://www.alhadafmagazine.com.

The logo of the web site consists of photographs of leaders of the organization and a Palestinian
flag, with the logo of the periodical on the right side of the design. In the picture are George
Habash, Wadie Haddad, Abu Ali Mustafa and Ahmad Saadat. 12


            9. Links to the official web site of the Popular Front

1.       The official web site of the Popular Front contains a link to the web site of al-Hadaf where
         issues of the journal can be read, and the web site of al-Hadaf contains a link to the web
         site of the Popular Front.

2.       The English-language web site of the Popular Front, which includes a reference to the web
         site of al-Hadaf, states that al-Hadaf is the official magazine of the Popular Front.13




3.       The official web site of the Popular Front, in a report on events which were held in memory
         of Ghassan Kanafani, the first editor of al-Hadaf, states that: “…the al-Hadaf journal is
         issued by the Popular Front for the Liberation of Palestine...”.14

4.       Al-Hadaf also has a Facebook page. Its Facebook home page features a picture of George
         Habash against a red background; below the picture is the logo of the Popular Front, and
         below that is the following caption: “The voice of the Popular Front – official page”.15 The
         word jabha that appears in the URL of the Facebook page is the Arabic word for “Front”.



12
     http://www.alhadafmagazine.com/.
13
     http://pflp.ps/english/.
14
     http://www.pflp.ps/news.php?id=2800.
15
     http://www.facebook.com/pflp.jabha.




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         Popular Front for the Liberation of Palestine
                                   ‫ اﻟﺼﻔﺤﺔ اﻟﺮﺳﻤﯿﺔ‬- ‫ﺻﻮت اﻟﺠﺒﮫﺔ اﻟﺸﻌﺒﯿﺔ‬
                                   The Voice of the Popular Front - Home Page

5.       The print version of al-Hadaf has a link to the official website of the PFLP.16


           10. Other Publications Note the Links Between the Popular Front and al-
               Hadaf
1.       Wafa, the official Palestinian news agency, publishes a review of the Palestinian media.
         The section that discusses al-Hadaf states: “A journal which is published on behalf of the
         Popular Front for the Liberation of Palestine”. Wafa is the official news agency of the PLO,
         an organization of which the PFLP is also a member. The official publication by Wafa
         constitutes proof of the relationship between the journal and the Popular Front and the
         PLO's knowledge of al-Hadaf and its substantive content.17

         The Wafa agency notes that after the PLO left Beirut in 1982, “the Popular Front moved to
         Damascus, and from there it continued to publish its central journal, al-Hadaf, from the
         Syrian capital of Damascus”.18
16
     See al-Hadaf v. 1456, p. 1.
17
     See http://www.wafainfo.ps/atemplate.aspx?id=5091.
18
     http://www.wafainfo.ps/atemplate.aspx?id=5091.



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2.       A publication which states that the al-Hadaf periodical is the official journal of the Popular
         Front. A publication in Syria concerning the detention of PFLP people sated that an order
         had been issued to close the official publication of the PFLP – al-Hadaf.19

3.       A web site which is closely affiliated with the Popular Front, on the page devoted to
         Ghassan Kanafani, states that he was the first editor of the al-Hadaf journal of the Popular
         Front for the Liberation of Palestine.20

4.       The web site “Arabs48”, which is published on behalf of the Israeli Arab party Balad and is
         considered to be a reliable site, has stated that the al-Hadaf journal belongs to the Popular
         Front. Admittedly, the full name of the organization, “Popular Front for the Liberation of
         Palestine”, is not mentioned because "Arabs48" is an Israeli web site. However, the words
         tahrir falastin (“the Liberation of Palestine”) definitely constitute a “shorthand” reference
         to the Popular Front.21

5.       On an additional occasion, in July 2012, the “Arabs48” web site wrote that al-Hadaf is
         issued on behalf of the Popular Front.22

6.       The Palestinian site Amad, which belongs to the liberal faction, stated in an article on the
         Popular Front dated December 6, 2012, that al-Hadaf “is issued on behalf of the Popular
         Front”.23

7.       The web site of the al-Weehdat sports club in Jordan, which is considered to be a
         Palestinian club, states that al-Hadaf is the journal of the Popular Front.24

8.       A French web site which appears in the Arabic language also sets forth the direct
         relationship between the Popular Front and the journal al-Hadaf.25

9.       The Sky News Network broadcast an Arabic-language program on Ghassan Kanafani,
         during which it was said that Kanafani was the editor-in-chief of al-Hadaf, which was
         founded by the Popular Front.26



19
     http://islamport.com/w/amm/Web/4175/61.htm.
20
     http://www.sndos.com/vb/showthread.php?t=15723&page=2.
21
     http://www.arabs48.com/?mod=articles&ID=97523.
22
     http://www.arabs48.com/?mod=articles&ID=92796.
23
     http://www.amad.ps/arabic/?Action=Details&ID=105214.
24
     http://www.alweehdat.net/vb/showthread.php?t=64652.
25
     http://www.langue-arabe.fr/spip.php?article785.



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10.      A biography of Ghassan Kanafani on the Palestinian Ministry of Culture's official website,
         states that the journal al-Hadaf was published by the Popular Front.27

11.      The electronic newspaper al-Balad, which is published in the Emirate of Oman, states that
         al-Hadaf was established in order to serve as a tool for the Popular Front.28

12.      A July 2012 report by Wafa, the official Palestinian news agency, reviewed the life of
         Ghassan Kanafani and stated that he was a member of the political chamber of the Popular
         Front and the editor of its journal, al-Hadaf.29

13.      The arabnet5 web site also considers the periodical al-Hadaf as belonging to the Popular
         Front.30

14.      The al-Hiwar (“Dialogue”) web site, which is ideologically close to the Popular Front,
         published an article on the Palestinian exile, and among other things, mentioned that the
         journal al-Hadaf belongs to the Popular Front.31

15.      Wikipedia directly links al-Hadaf to the Popular Front.32 In another report, the Arabic-
         language Wikipedia site states that al-Hadaf is the chief journal of the Popular Front
         organization.33

16.      The Palestinian web site Shabab Filastin states that after its founding, the Popular Front
         established its journal, al-Hadaf.34


26
 http://www.skynewsarabia.com/web/article/32218/%D8%BA%D8%B3%D8%A7%D9%86-
%D9%83%D9%86%D9%81%D8%A7%D9%86%D9%8A-%D8%B0%D9%83%D8%B1%D9%89-
%D8%A7%D8%BA%D8%AA%D9%8A%D8%A7%D9%84%D9%87.
27
     http://www.moc.pna.ps/a_det.php?id=32.
28
     http://albaladoman.com/?page_id=445.
29
     http://www.wafa.ps/arabic/index.php?action=detail&id=134637.
30
 http://tags.arabnet5.com/%D9%85%D8%AC%D9%84%D8%A9-
%D8%A7%D9%84%D9%87%D8%AF%D9%81-
%D8%A7%D9%84%D8%AA%D8%A7%D8%A8%D8%B9%D8%A9-
%D9%84%D9%84%D8%AC%D8%A8%D9%87%D8%A9-
%D8%A7%D9%84%D8%B4%D8%B9%D8%A8%D9%8A%D8%A9.
31
     http://www.ahewar.org/debat/show.art.asp?aid=120445.
32
     http://ar.wikipedia.org/wiki/%D9%83%D9%85%D8%A7%D9%84_%D9%86%D8%A7%D8%B5%D8%B1.
33
 http://ar.wikipedia.org/wiki/%D8%B9%D9%85%D9%84%D9%8A%D8%A9_%D9%85%D9%8A%D9%88%
D9%86%D8%AE.
34
     http://www.shabab.ps/vb/archive/index.php/t-138558.html.



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17.      The Arab historian, Dr. Kadhim al-Mousawi, who has written at least six books on the
         history of the Middle East, writes in his study on Ghassan Kanafani that the Popular Front
         was the organization which published the journal al-Hadaf.35

18.      The newspaper Misr el-Gdida (“New Egypt”), which is published in Egypt, published an
         article by Muhammad Sadegh Ismail, a political commentator in Egypt, which stated that
         the journal al-Hadaf is a journal of the Popular Front. The article was published on June
         17, 2012.36

19.      The newspaper al-Mawkef (“The Position”), an official newspaper of the Palestinian
         authority, stated that al-Hadaf is the official journal of the Palestinian Authority. 37

20.      A web site which is closely related to the Popular Front and devoted to the fallen
         commanders of the Popular Front stated that the journal al-Hadaf belongs to the Popular
         Front.38


            11. Israeli attestations
1.       Dr. Guy Bechor, one of Israel’s most senior experts in Middle Eastern studies and the
         author of the book PLO Lexicon, states that “al-Hadaf is the journal of the Popular Front
         for the Liberation of Palestine, George Habash’s organization”.39

2.       Prof. Moshe Shemesh, a scholar of Middle Eastern studies and Palestinian nationalism,
         states, in his new book, The Palestinian National Renaissance, “Ghassan Kanafani, an
         important Palestinian author, one of the leaders of the Popular Front for the Liberation of
         Palestine and the author of its journal, al-Hadaf…”.40

3.       Dr. Sara Ozacky-Lazar, a scholar of Middle Eastern studies and a senior researcher at the
         Van Leer Institute in Jerusalem, in an article on Ghassan Kanafani which she published in
         the daily newspaper Maariv: “Ghassan Kanafani was a 12-year-old boy when the nakba
         [catastrophe] of his people took place and he was uprooted from Akko, the city of his birth,
         to Lebanon. He was 36 years old when he was killed by Israel, because he belonged to the

35
     http://kadhimmousawi.blogspot.co.il/2012/08/blog-post_4225.html.
36
     http://www.misrelgdida.com/reporters1/92741.html.
37
     al-Mawkef, July 15, 2012, page 32. See http://www.png.plo.ps/ar/cp/plugins/spaw/uploads/files/mawkef/almouqef%2010.pdf.
38
     http://redeagle.ahlamontada.com/t13721-topic.
39
     Guy Bechor, ibid., p. 81.
40
  Moshe Shemesh, The Palestinian National Renaissance [Hebrew] (Beersheba, Ben-Gurion University, 2012), p.
209.



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         Popular Front for the Liberation of Palestine and edited its journal, al-Hadaf (‘The
         Target’).”41

4.       The Israeli web site “News1” writes that the Palestinian author Ghassan Kanafani, a
         member of the Popular Front for the Liberation of Palestine, who was eliminated by Israel
         in Beirut, was the editor of the periodical al-Hadaf. “[He] belonged to the Popular Front
         and edited its journal, al-Hadaf (‘The Target’).”42

5.       The Israeli web site Tapuz (“Orange”) writes that Ghassan Kanafani was born in Akko
         (Akka) in 1936. During the 1948 War, his family moved to Lebanon, where he later
         became a journalist, a teacher and a writer. Kanafani serves as the spokesperson for the
         Popular Front for the Liberation of Palestine and became the editor of the periodical al-
         Hadaf. He was killed in 1972 (when his car was blown up, apparently by Israel Defense
         Forces troops).43


II.        Publications by the Popular Front in the periodical al-Hadaf
In order to examine the relationship between the journal al-Hadaf and the Popular Front
organization, I performed a random examination of the contents of a number of issues, dating
from 1988 and 2012. Following are the results:

Issue No. 919 – 1988

1.       Cover: title in red, photograph of a funeral with the red kaffiyeh head coverings
         conspicuously emphasized.

         Top headline: Habash holds important talks with Ceausescu.

         Additional headline: 16th anniversary of Ghassan Kanafani’s death.

2.       Page 2: photographs of activity by leftist organizations throughout the world: South Africa,
         Salvador, New York, in support of the Palestinians.

3.       Pages 4-5: an open letter by George Habash to the Palestinians.

4.       Page 6: an article on the Popular Front delegation which visited Romania.

5.       Page 7: an interview with George Habash.

41
     http://www.nrg.co.il/online/archive/ART/236/897.html.
42
     http://www.news1.co.il/Archive/001-D-158920-00.html?tag=09-09-58.
43
     http://sf.tapuz.co.il/article-276-2-2217-17137/.



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6.     Page 13: an official announcement by the Popular Front.

7.     A report on the meeting between the leadership of the Popular Front and the Democratic
       Front.

8.     Pages 36-49 are dedicated to Ghassan Kanafani, a member of the political chamber and a
       spokesperson for the Popular Front and the first editor of al-Hadaf.

Issue No. 917 – 1988

1.     Page 12: a statement by George Habash.

2.     Page 13: an official announcement by the Popular Front.

3.     Page 19: the discussion of the intifada in Yugoslavia.

4.     Pages 22-23: an article on a Popular Front terrorist squad which infiltrated Israeli territory
       in the area of Mt. Hermon. Accompanying the article are pictures of the squad members
       holding weapons (Kalashnikov rifles). The article includes a description of the operation
       and the biographies of the participants, with the word rafiq (“Comrade”) emphasized
       before their names.

5.     Page 25: an official announcement by the Popular Front – a call by Abu Ali Mustafa for the
       convocation of the Palestinian National Council.

Issue No. 939 – 1988

1.     Cover page: festivities for the 21st anniversary of the establishment of the Popular Front.
       The cover page includes several photographs: a picture of George Habash; another picture
       of demonstrators waving a red flag; graffiti written in red; a demonstrator wearing a red-
       checked kaffiyeh; a Popular Front rally with a conspicuous display of the Popular Front
       emblems and flag. The main headline on the page, written in red, is: “And other year on the
       way to freedom and independence”.

2.     Page 4: the logo of the paper, with the emblem of the Popular Front in the background.

3.     Central article: an open letter from George Habash on the occasion of the 21st anniversary
       of the establishment of the organization.

4.     Page 12: a detailed article on the occasion of the 21st anniversary of the Popular Front,
       including photographs of a demonstration with Popular Front signs.

5.     Page 26: use of code words, such as the word rafiq (“Comrade”).



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6.      Page 36: an article on the coup in Laos, in which the ideology is similar to that of the
        Popular Front.

Issue No. 943 – 1989

1.      Cover: 30th anniversary of the revolution in Cuba.

2.      Pages 6-7: an open letter by George Habash.

3.      Page 16: a photograph and an article on Abu Ali Mustafa.

4.      Page 21: comments by the Popular Front on American policy.

5.      Page 22: a manifesto by the political chamber of the Popular Front.

6.      Page 23: an official announcement by the Popular Front.

7.      Page 25: an official manifesto by the Popular Front about the visit by Egyptian President
        Sadat to Israel.

8.      An announcement by the Popular Front, opposing the cease-fire.

9.      Page 27: a manifesto on behalf of Communist parties in the Arab world.

10.     Pages 28-31: congratulations by organizations and parties to the Popular Front for its
        positions in the conflict.

11.     Pages 46-47: a speech by George Habash in Libya.

12.     Pages 50-51: an open letter by George Habash to President Gaddafi of Libya.

13.     Pages 52-54: an article on the 30th anniversary of the coup in Cuba.

Issue dated August 15, 201244

1.      Page 3: the left side of the page features the Popular Front logo. The article on that page is
        dedicated to Abu Ali Mustafa, former Secretary General of the Popular Front, who was
        eliminated by Israel.

2.      Page 4: an appeal by Ahmad Saadat, Secretary General of the Popular Front, who is
        imprisoned in Israel, to make all possible efforts in the struggle against Israel and
        especially on the issue of the political prisoners.

44
     http://www.pflp.ps/uploads/1346744511August%20AlHadaf%201453.pdf.



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3.     Page 5: an article on the Arab Nationalist Movement (al-Qawmiyun al-Arab), from which
       the Popular Front developed.

4.     Page 7: an article by Azmi Khawaja, one of the heads of the Popular Front, about Abu Ali
       Mustafa.

5.     Page 8: a position paper by the Popular Front with respect to the demand by the Palestinian
       Authority to raise the Value Added Tax.

6.     Page 9: an additional article about Abu Ali Mustafa.

7.     Pages 10-11: memories and biography of Abu Ali Mustafa.

8.     Page 12: an article by Ghazi Sourani, one of the leaders of the Popular Front in Gaza.

9.     Page 15: an article on the Association of Palestinian Women’s Committees, which is a
       front organization for the Popular Front.

10.    Pages 19-20: a discussion of the future of the Palestinian left with Daoud Talhami.

11.    Pages 41-42 are devoted to ideological matters and to the leading philosophers of Marxist
       thought, primarily Carl Marx.

12.    Page 43: an article on the author and cartoonist Naji al-Ali, who was posthumously claimed
       by the Popular Front as one of its members.

13.    Pages 45-46 are devoted to Asad Salameh, “Abu Mansur”, who was the military
       commander of the Popular Front in the Hebron area and was killed in 1968.


III.    Conclusion
The journal al-Hadaf was founded in 1969 by the leadership of the Popular Front in order to
disseminate the ideology of the organization, to serve as a mouthpiece for the organization’s
operations, and especially to recruit members and supporters to its ranks. At that time, the
Internet did not yet exist, and neither did other tools of dissemination, such as the facsimile. A
newspaper at the disposal of the organization was an organizational tool, and ideological tool,
and primarily a tool for the dissemination of influence. Like other Palestinian organizations, the
Popular Front also established a newspaper of its own. An organization of this size, with
institutions and branches in the Arab countries, deployment throughout the Arab countries, and
sympathizers in Europe, the United States and South Africa, needs a mass communications
medium – whether a web site or a journal – which serves as a cohesive force among its
sympathizers and members. The Popular Front, as an ideological organization, would not have



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succeeded without its ideological facet, which is reflected in the journal al-Hadaf. No wonder
then, that all of the editors of al-Hadaf, throughout the generations, have been members of the
political chamber of the Popular Front, and some of them have also been official spokespersons
of the Popular Front.

The journal al-Hadaf contains no advertisements; this fact leads to the conclusion that it is not a
commercial paper. The annual subscription fees and the income from sales of the newspaper do
not cover its costs. In addition, according to discussions which I held in Jenin, Nablus and East
Jerusalem, the newspaper is actually distributed free of charge. In order to set up an editorial
board, maintain correspondents and photographers, print and distribute a newspaper and pay its
employees a salary, large amounts of money are required. This leads to the conclusion that al-
Hadaf is being funded by the PFLP.

The editors of the newspaper, throughout the years – Ghassan Kanafani, Bassam Abu Sharif,
Jawad Aqal – have served or still serve as members of the political bureau of the Popular Front.
The political bureau of the organization is its supreme leadership entity, which is headed by the
Secretary General of the organization, and determines the organization’s policy. The direct
relationship between the leadership and the newspaper, including the fact that all of the editors
have been members of the political bureau, is not mere happenstance; rather, this indicates the
fact that the journal is a propaganda and communications medium of the Popular Front
organization and an integral part of the Popular Front’s public relations array.

The fact that the newspaper was inaugurated shortly after the establishment of the Popular Front
is no coincidence. Neither is the location of the newspaper’s editorial office – the Yarmuk
refugee camp near Damascus; rather, this indicates the direct relationship between Syria and the
Popular Front organization. It should be noted that the branch of the Popular Front in Gaza is
located within the offices of the Popular Front, in the Information Department of the
organization. This fact also shows the direct relationship between the Popular Front and the
journal.

The photographs in the journal, like the symbols, the subjects of the articles and especially the
official announcements by the Popular Front, link the journal to the Popular Front. Especially
prominent are pictures of the organization’s leaders, pictures of operations carried out by the
Popular Front, and pictures of world leaders whose outlook is similar to that of the Popular
Front, such as Fidel Castro and Nicolae Ceauşescu.

The Arab and Palestinian media, academic publications, and residents in the Palestinian
territories have all clearly indicated the relationship between the journal al-Hadaf and the
Popular Front. I have cited examples of more than 20 instances from the media and from
academia in this regard. Experts in Israel also recognize a direct relationship between the journal
and the Popular Front.



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The content of the journal proves that its coverage and its articles are focused on the Popular
Front. There are almost no references to other organizations, and there are no subjects in the
paper which are not directly or indirectly related to the Popular Front.

In light of the examination which I have performed and my in-depth study of the issues of the
paper, especially in the 1980s and throughout the past year; on the basis of my professional
experience, which is founded on my work for the Israel Security Agency; my work as a
journalist responsible for covering Palestinian society for the Yedioth Ahronoth newspaper; and
my research at the Truman Institute of the Hebrew University of Jerusalem, I hereby determine
that al-Hadaf is the official journal of the Popular Front for the Liberation of Palestine.

IV.    Summaries and Translations of Articles Published in al-Hadaf From
       1999-2002

In connection with my review of al-Hadaf, I reviewed the following articles published in the
journal:


Al Hadaf Vol. 1295 pp. 10-12 (Exhibit 1-A)
July 25, 1999
Dr. George Habash Congratulates President Saddam Hussein on the Anniversary of the July
Revolution

Dr. George Habash congratulates the president of Iraq, Saddam Hussein, on the occasion of the
anniversary of the July Revolution, on behalf of the entire Palestinian people and on behalf of the
Central Committee of the Popular Front for the Liberation of Palestine and all of the members of
the organization. He states that the July Revolution constitutes an important milestone in the
history of Iraq and the Arab nation, as part of the struggle against imperialism. Habash expresses
his support of Hussein in light of the renewed attack on his country by the forces of imperialism,
headed by the United States and its allies, Britain and world Zionism, which have adopted the
goal of dividing up Iraq and striking against its national unity in order to exacerbate the rifts
within the Arab nation. The author declares the support of the Palestinian people for the Iraqi
people in that struggle against the enemies of the Arab nation, and primarily against the United
States, and maintains that the Popular Front will continue to fight alongside all of the Palestinian
entities in order to achieve their complete rights, including the right of return and the
establishment of the State of Palestine, with al-Quds (Jerusalem) as its capital. Habash concludes
by calling for strengthened relations between the two people and the two parties (the Popular
Front and the Iraqi Baath Party).




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Dr. George Habash Congratulates Algerian President Abdelaziz Bouteflika on Algerian
Independence Day

Dr. George Habash congratulates the president of Algeria, Abdelaziz Bouteflika, and his people
on the occasion of the 37th Independence Day of their state, on behalf of the entire Palestinian
people and on behalf of the Central Committee of the Popular Front for the Liberation of
Palestine and all of the members of the organization. He expresses support of the measures
which President Bouteflika is carrying out in order to achieve stability and growth in Algeria,
and notes that the state has played an important role in Africa, the Arab world and the
international arena, and has supported the Palestinian issue. Habash states that the Arab world
and especially the Palestinian people are in need of a strong, stable Algeria, especially in light of
the many challenges which they are facing as a result of the offensive by their enemies.

Comrade Abu Ali Mustafa, on the “Opposite Direction” Program, Calls for Unity in
Opposition to the Occupation and the Construction of the PLO Institutions on Comprehensive
Democratic Foundations

The Deputy Secretary General of the Popular Front for the Liberation of Palestine, Abu Ali
Mustafa, was a guest on the Al Jazeera Channel’s “Opposite Direction” program on Tuesday,
July 13, together with Yasser Abed Rabo, the Ministry of Culture and Communications in the
Palestinian Authority. Mustafa called for the concentration of forces of the Palestinian people
and the preservation of unity in light of the new developments in the diplomatic arena, as well as
for the continued struggle against the Zionist occupation. He further declared that the PLO
institutions should be constructed on new, democratic foundations, in order to restore its status as
the supreme organization of the entire Palestinian people.

Mustafa believes that progress on the Syrian and Lebanese fronts of the Arab-Israeli struggle will
have a good effect on the Palestinian front, and that there is no need to fear the diplomatic
maneuvers by the Barak government, which are intended to provoke disputes among the Arab
governments in order to attain diplomatic achievements. Mustafa expects the Palestinian
leadership to learn from its diplomatic failures, starting with the Oslo Agreements, and to resume
its role as a supportive home for the struggle of the Palestinian people. In that context, he
mentioned the importance of democracy and of the involvement of the people in diplomatic
issues.

In answer to the question of why he does not return to the Palestinian Authority, Mustafa replied
that he attempted to do so in 1997 but was stopped by the Israeli authorities. He clarified that this
is the right of every Palestinian, and that every Palestinian’s individual struggle to return to his
land should not diminish the struggle to achieve the overall right of return of the Palestinian
people. In addition, Mustafa pointed out the importance of the Palestinian opposition as a




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political and social force, which is entitled to carry out its functions notwithstanding the
agreements by the Palestinian Authority.

Mustafa went on to analyze Israel’s policy since 1967 and claimed that it was based on three
principles which had been determined by Yigal Allon and were also being implemented by
Barak: no return to the borders of June 4; construction of the settlements; striving for a regional
solution. Accordingly, Mustafa argued that it is no wonder that the Governments of Israel
support the same diplomatic line, whether they are headed by Netanyahu or Barak, and reject the
Palestinian demands on such issues as Jerusalem, the settlements and the right of return – thereby
necessitating the continuation of the struggle, notwithstanding the agreements.

Declaration to the Press / Popular Front for the Liberation of Palestine, July 21, 1999


The spokesperson of the Popular Front for the Liberation of Palestine confirmed that
preparations are currently being made for a broad-scale Palestinian national dialogue, with a
view to discussing the recent diplomatic developments and drawing the conclusions necessitated
by the last five years. The spokesperson emphasized that it is necessary to unify the ranks in
order to cope with the challenges which are facing the Palestinian people, and to reconstruct the
PLO institutions and renew its activity in order to unify the people.


Al Hadaf Vol. 1296 pp. 8-10 (Exhibit 1-B)
August 22, 1999
Legitimate Questions and Long-Term Struggle
by Abu Ali Mustafa, Deputy Secretary General of the Popular Front for the Liberation of
Palestine

Abu Ali Mustafa attempts to answer the question: in light of the Oslo Agreements and all of the
many changes which the Palestinian national movement has undergone in recent years – what is
the state of the movement and what are the flaws from which it suffers?

Mustafa initially argues that the Palestinian public suffers from attempts to divert its attention
from the problems in the national movement, most of which have to do with flaws in the
diplomatic course, which must be opened for discussion by the general public. He laments the
fact that the Palestinian side remains passive in the negotiations with the Israeli side and
primarily responds to its actions and is dragged into non-essential issues; he believes it is
necessary to adopt a comprehensive, all-embracing and long-term view of the struggle. Mustafa
states that the Palestinian people will not achieve its objectives, or even part of them, without
maintaining a protracted struggle which will change the balance of forces and will break the
Zionist project, and that it is not right for the Palestinian people to give up most of its homeland



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in order to obtain a small part of it. He further believes that the entire Arab nation should rally to
the struggle, because the Palestinian people will not succeed in it alone. According to his
statement, even if the resistance has succeeded, in the last 50 years, in foiling Israel’s attempts to
deny the existence of the Palestinian identity and to extend its diplomatic, economic and
security-related presence into the Arab sphere, it has also experienced painful failures. This,
however, is not enough to prove that the way of negotiation is to be preferred over the way of
struggle, certainly from such a position of inferiority relative to Israel. In his opinion, the
situation of the Palestinian people cannot be compared to that of other liberation movements and
other peoples which strove for independence; accordingly, the negotiations will not achieve the
objectives which it achieved for those others but rather, will only perpetuate the recognition of
Israel and the status quo and will prevent the Palestinian people from achieving its rights. On the
other hand, the way of struggle has proved itself for both the Palestinian people and the Lebanese
people; in fact, the Lebanese struggle has even succeeded in creating an internal rift within the
Israeli public. As he sees it, the calls for a just and complete peace must stop, because no such
peace can possibly be achieved with Israel. Therefore, it is necessary to continue the struggle on
all levels and to launch a renewed intifada, which will include a struggle against Israel in the
international, diplomatic, military and economic arenas.

With respect to the question of whether international law is likely to be of help to the Palestinian
people, Mustafa argues that the importance of resolutions by the international community with
regard to the Israeli-Palestinian conflict is dubious, because such resolutions are numerous and
complicated and, in general, serve Israel’s interests. This is why the PLO leadership has denied
those resolutions, with the exception of UN Security Council Resolution 242, which it
recognized at the Madrid Conference. Admittedly, those resolutions may be useful, both in order
to direct criticism against the international community for not ensuring that they are carried out
on the ground, and as a means of exerting diplomatic pressure on Israel. Mustafa, however, sees
this as a tactical measure and not as a basis for diplomatic strategy.

Mustafa goes on to discuss the issue of unity of the Palestinian people and the flaws in the PLO.
He states that the organization does not properly represent all Palestinians, does not properly
promote the national project for the sake of which it was established, and has even been
swallowed up by the Palestinian Authority. In his opinion, the framework and institutions of the
organization should be reconstructed in such a way as to be detached from the institutions and
undertakings of the Palestinian Authority, to represent the entire people and to promote the
national program. Mustafa calls for a resumption of the activity of the Palestinian National
Council on a democratic basis. As he sees it, it is necessary to promote the political unity of the
Palestinian people, and even to involve the Palestinians in the 1948 territories and to preserve
their connection to the national project.




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Al Hadaf Vol. 1298 pp. 3-12 (Exhibit 1-C)
October 10, 1999

Results of the Amman Meetings Between the Fatah Delegation and the Popular Front

Call for the Reconvening of the Palestinian National Council

Pursuant to the national dialogue which began in Cairo in August 1999 between Fatah and the
Popular Front for the Liberation of Palestine, discussions were held between the two
organizations in the Jordanian capital on September 28. These discussions centered on ways to
strengthen the national dialogue and on subjects which were raised by the Popular Front,
including democratic reform of the PLO institutions, strengthening democracy in the Palestinian
society and encouraging the action of Palestinian popular and professional unions. The talks
were held in a pleasant atmosphere, and the parties agreed that steps should be taken toward
renewing the activity and influence of the PLO, which had lost power in recent years in favor of
the Palestinian Authority and pursuant to the Oslo Agreements, in order to unite the Palestinian
people in the struggle against Israel.

Note: This brief column attempts to make it clear that the paper’s preoccupation with the
Palestinian issue, which has forced the affairs of the Arab world and international issues into a
few brief pages, does not result from a belief that the latter are not important; rather, it results
from the present stormy situation within the Palestinian Authority, especially with respect to the
national dialogue. As for international affairs, the columnist points out that it is not possible to
ignore the celebration of the 50th anniversary of the establishment of Communist China – not
only because one-sixth of the world’s population lives in that country, but also because it proves
that Communism is not dead, notwithstanding the fall of the Soviet Union and the many
difficulties which China has suffered over the years.

Well Done, Arabs, Well Done!

This column compares two cases of Arab opposition to Israel’s relations with international
American companies. In the first case, Burger King announced the granting of a concession to an
Israeli company for the opening of a branch in Maaleh Adumim, but the opposition of the Arab
world led Burger King to change its mind, claiming that the Israeli company had deceived it. In
the second case, at a Disney exhibition honoring the millennium at Disney World in Orlando,
Disney opened an Israeli stand which portrayed Jerusalem as the capital of Israel and ignored its
Christian and Muslim history. The Arab world, headed by the Arab League, exerted pressure on
Disney to change the situation, but did not act in a determined, organized and uniform manner.
Arab entities, including shareholders in Disney, denied the protesters and the possibility of
threatening to boycott the company, which accordingly did not grant all of their demands. The
columnist considers this as an example of the problems in the Arab world due to which the world
as a whole does not treat it with the proper degree of seriousness.


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Research Study

The Palestinians and the Talks on the So-Called Permanent Arrangement
A Problematic Inheritance and Difficult Challenges
by Ahmad Jabbar

In this article, Ahmad Jabbar addresses the talks on the permanent arrangement between Israel
and the Palestinians. Initially, however, he examines the implementation of the Sharm el-Sheikh
Agreement as a harbinger of future developments. Jabbar determines that the Agreement, in
actual fact, failed on such issues as security and prisoners, safe passage, the Gaza Port and the
Israeli withdrawals from the territory of the Authority. The author describes the problematic
nature of the talks on the Israeli withdrawals, and blames Israel for not being prepared to include
in its calculations of the territories the West Bank territories which it has annexed, primarily in
Jerusalem. On the subject of safe passage, Jabbar argues that not only has no passage which will
form a geographic connection between the West Bank and the Gaza Strip yet been established,
but there is even no territorial continuity within the West Bank itself. He criticizes Israel for not
being willing to make this possible, in contravention of that set forth in the Oslo Agreements.
With respect to the Israeli settlements, Jabbar directs criticism against the world and the United
States for their support of Israel. In addition, in his opinion, it is obvious that Ehud Barak does
not intend to dismantle the settlements, in light of the plans for construction in the territories and
the coalition agreements of his government, especially with the National Religious Party.

Speaking of the talks on the subject of the permanent arrangement, which are supposed to deal
with all of the essential issues, Jabbar determines that the Palestinians are approaching those
talks from a position of grave inferiority, and it is therefore obvious that the talks will not give
them the rights that they deserve. He directs severe criticism against the peace process and the
Palestinian leadership for having transformed the issue of the refugees into just one more section
of the negotiations, although, in his opinion, that issue should not even have been discussed but
rather, should have constituted a clear precondition. He expresses his forceful objection to the
proposal to grant citizenship to the refugees and criticizes entities in Lebanon which are
interested in throwing out the Palestinian refugees without ensuring that they obtain the right of
return.

Finally, Jabbar calls for unity within the ranks of the Palestinian people in order to cope with the
challenges yet to come, and welcomes the dialogue between Fatah and the Popular Front.




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The talks on the permanent arrangement:

A Long and Winding Marathon
by Abu Ali Hassan, a member of the Political Bureau of the Popular Front for the Liberation
of Palestine

Abu Ali Hassan writes about the talks on the permanent arrangement. He initially makes it clear
that the Popular Front does not intend to participate in those talks in any way whatsoever,
because it does not believe that such an arrangement will preserve the rights of the Palestinian
people, nor does it believe that it is possible to achieve the temporary goal of a Palestinian state
within the 1967 borders. He warns that the negotiations are a long and winding marathon, and
that no one can tell how they will end; he states that Israel will not recognize the full rights of the
Palestinian people without a long struggle on its part, which will change the balance of forces.
Hassan points out that the talks on the subject of the temporary solutions, starting with the Oslo
Agreement, went on for six years, and that Israel did not fulfill the undertakings which it made in
those talks; accordingly, there can be no hope that the talks on the permanent arrangement will
give rise to appropriate results.

Hassan goes on to clarify that the Popular Front does not recognize the Oslo Agreement, but
does recognize its destructive effects and its influence on the present situation.


Text of the Joint Statement of the Amman Conference Between the Delegations of the Fatah
Central Committee and the Popular Front for the Liberation of Palestine

Amman, September 28, 1999

The statement sums up the conference which took place between the parties in Amman, at which
they discussed measures aimed at the reinforcement of the national dialogue and the resumption
of PLO activity. The statement calls upon all of the Palestinian factions to participate in the
conferences of the Palestinian Central Council in order to promote the reconvening of the
Palestinian National Council. The statement subsequently emphasizes the entitlement of the
Palestinian people to a sovereign state with Jerusalem as its capital and to the right of return. In
this context, the statement expresses opposition to the plans to grant citizenship to Palestinian
refugees.

A response to the article by Majed Abu Dayak in Filastin al-Muslima (“Muslim Palestine”)

Does Hamas Actually Object to Dialog?
by Khalil Jandawi

Khalil Jandawi responds to an article by Majed Abu Dayak, which was published in the Hamas
journal of September 1999, in which Abu Dayak criticized the talks between Fatah and the


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Popular Front in Cairo. Jandawi attacks Abu Dayak for his rhetorical devices and for the means
in which he portrayed the contacts between the two parties, and claims that the article was
hypocritical because Hamas itself participated in similar contacts. Jandawi emphatically denies
that the Popular Front’s desire for a rapprochement with Fatah stems exclusively from the
Front’s need for funds from the Palestinian Authority, in light of its difficult financial situation.
He then goes on to present the Popular Front concept with respect to the Palestinian national
dialogue and explains that the organization’s aim is to contribute to the unification of the ranks
within the Palestinian people and the reconstruction of the PLO institutions as a top-level
framework which represents all of the Palestinians, in order to cope with the present challenges.

Finally, Jandawi provides an extremely long citation of official statements by Hamas members,
from a period in which the movement maintained similar contacts with Fatah, in order to point
out the hypocrisy of the criticism directed by Abu Dayak against the Popular Front.


Al Hadaf 1298, p. 22, October 1999 (Exhibit 1-D)
The article on this page deals with the issue of the Palestinian elections and the future structure
of the Palestinian government. The article calls for:

1.     Holding elections within and outside the territories – that is, all of the Palestinians should
       participate in them.

2.     A call to hold the elections on a democratic basis.

The article sets forth a new structure for the authorities and institutions of the Legislative
Council.


Al Hadaf Vol. 1301 pp. 4-5 (Exhibit 1-E)
December 26, 1999
A Public Political Declaration on the Occasion of the 32nd Anniversary of the Establishment
of the Popular Front for the Liberation of Palestine and the 12th Anniversary of the Outbreak
of the Glorious Intifada
by the Central Committee of the Popular Front for the Liberation of Palestine

The Central Committee of the Popular Front for the Liberation of Palestine addresses the
Palestinian people and the Arab nation on the occasion of the 32nd anniversary of the
establishment of the Popular Front and the 12th anniversary of the outbreak of the intifada, and
emphasizes its obligation to continue the struggle until the attainment of the national rights, and
primarily the right of return and a sovereign state with Jerusalem as its capital. The Committee
points out that the Front was established in response to the defeat in the 1967 War, and that the


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intifada broke out in response to the helplessness of the Arab world and the disregarding of the
Palestinian people and its problem. It adds that the Palestinian issue is now facing a severe threat
which is likely to perpetuate an makeshift solution which will not achieve any objectives
whatsoever; in that context, it brings up the damage which was caused to the Palestinian struggle
by the Oslo Agreement, because the Agreement included the surrender of its leadership to
Israel’s demands. According to the Committee, Israel is continuing, within the framework of the
present negotiations, to steal Palestinian lands, to Judaize Jerusalem and to express contempt for
the issue of the refugees.

The Committee expresses its opposition to the path laid out by the Madrid Conference, to the
Oslo Agreement, and to any solution or arrangement, and emphasizes its obligation to the
Palestinian national convention, the PLO national program and the struggle to achieve all of the
rights of the Palestinian people. It calls upon the Palestinian leadership to terminate the
negotiations with Israel and to bring the Palestinian issue back to the United Nations for
deliberation.

The Committee believes that the PLO should be rebuilt as an all-encompassing, united
framework for the Palestinian people, on the basis of clear political and organizational
foundations which will be appropriate to the Palestinian national program, and that steps should
be taken toward the establishment of a democratic, free, just and pluralistic regime. It calls upon
the Arab nation tonight in the struggle against imperialistic Zionism and demands the release of
all of the inmates in Israeli prisons.


Al Hadaf Vol. 1302 pp. 4-13 (Exhibit 1-F)
January 2000
Announcement on Behalf of the Political Bureau of the Popular Front for the Liberation of
Palestine

It Is Necessary to Conduct a Comprehensive Political and Organizational Critique of the
Palestinian Course of Action in Recent Times

The Political Bureau of the Popular Front warns against the attempts to force upon the
Palestinian people an Israeli-American solution which will prevent it from achieving its rights in
their entirety, and notes that the Oslo Agreements have harmed the Palestinian interests, have
caused rifts within the Palestinian people and have weakened the PLO so that it no longer serves
as an all-embracing framework for the people and its struggle. In light of the grave situation, the
Bureau calls for a comprehensive political and organizational critique of the Palestinian course
of action in recent times, especially after the Oslo Agreements. The Bureau demands the
termination of the negotiations with Israel, which serve only the interests of the latter.



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The Bureau declares that the Palestinian issue constitutes the core of the Arab-Zionist conflict
and accordingly, it cannot be resolved without being properly handled – without giving the
Palestinians the right of return and enabling them to establish a sovereign state with Jerusalem as
its capital. It goes on to state that Palestinian unity must be constructed around the struggle for
the attainment of those rights, which cannot be waived under any circumstances, and calls for the
reconstruction of the PLO institutions and the resumption of the activity of the Palestinian
National Council.

The Bureau expresses solidarity with Lebanon and Syria in their struggle to restore the territories
which Israel conquered from them.

Palestine Between Dream and Reality: Have We Moved Toward It or Away From It?
by Dr. George Habash, Secretary General of the Popular Front for the Liberation of Palestine

George Habash examines whether the Palestinian people has moved closer to, or actually farther
away from, achieving its dream of the state. He begins with the historical background in which
he presents his version of the growth of the Zionist movement and its ties with the Western
world, whereby he presents it as the spearhead of imperialism, the objective of which is to strike
against the Arab project and to cause a rift between North Africa and the Arab countries of Asia.
He criticizes the Western world and considers globalization as an additional means of
imperialism, the intention of which is to do harm to independent peoples, as happened (as he
says) in the Palestinian nakba [“Catastrophe”]. Habash attacks the Zionist worldview and states
that it is based on denial of the other’s existence; he makes reference to the sentence “a land
without a people for a people without a land”.

Habash expresses his opposition to the Oslo Agreement and believes that its purpose was to
break the Palestinian people’s spirit of resistance; he criticizes the approach adopted by Israel,
which views the Palestinians as an economic bridge to the Arab world. Habash also voices his
opposition to the present negotiations with Israel and rules out the possibility that they will give
rise to achievements for the Palestinians. In that context, he criticizes the Palestinian leadership,
which, as he sees it, is conducting negotiations on the basis of narrow interests and not as part of
the struggle of the Palestinian people.

The author goes on to present his version of historic events in the second half of the 20th
century, starting from the establishment of the State of Israel and its wars against the Arab states,
and up to the Iranian revolution and the fall of the Soviet Union, and presents the relationship of
those events to the Arab world and the Israeli-Palestinian conflict. Habash criticizes Egypt for
the peace agreement which it concluded with Israel and states that that agreement has not
contributed to its economic growth, as it had been promised. Similarly, he claims that a
permanent arrangement will not solve the distress of the Palestinian people. Finally, Habash
proposes actions which the Palestinian people must take in order to succeed in its struggle, and



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states that the struggle is still going on and must be won, notwithstanding the inferior position of
the Arab world and the Palestinian people today.

A Quick Analysis of the Flaws in Palestinian Policy
by Abu Ali Mustafa, Deputy Secretary General of the Popular Front for the Liberation of
Palestine

Mustafa examines the flaws in Palestinian policy and proposes a number of aspects, according to
which it is important to examine them. Among other things, he refers to the need to define the
scope and dimensions of the struggle against Israel and the nature of the dispute with it and to
define the nature of the present period of the dispute – whether it is a period of Palestinian
struggle for the liberation of the people, or a period of peace. According to his argument, in the
eyes of the Arab world and the entire world, it is a period of peace, and this is what enables Israel
to continue to oppress the Palestinian people. An additional aspect which Mustafa presents is the
distinction between temporary tactics and long-term strategy. In his opinion, the Palestinian
leadership has difficulty distinguishing between these two concepts, and some Palestinian
factions believe that the present period represents the end of the struggle, and not only one stage
within it. Another aspect to which Mustafa refers is the functioning of the Palestinian Authority
as an entity with no real sovereignty, no Constitution and no law and order – a situation which is
harmful to the Palestinian people and its struggle. Finally, he addresses the tension between the
national interests of the Palestinian people and the overall interests of the Arab nation, and
criticizes Arab entities that are striving toward normalization of relations with Israel at the
expense of the Palestinian struggle.


Al Hadaf Vol. 1302 pp. 65-67, 106-108 (Exhibit 1-G)
January 2000
The Holocaust: the Horror Story of the Century – How Long?
by Ali Hason (Syria)

Hason refers to a news item which he heard a short time before, according to which the British
Foreign Secretary visited Israel and recalled the memory of the Holocaust victims. The item
reminded him of a tour of East Germany in which he participated during his high school studies,
when he visited a Nazi extermination camp. The writer addresses the subject of the Holocaust
and briefly presents researchers who have denied that it ever took place, especially Robert
Faurisson of France and Jurgen Graf of Switzerland. Hason raises some of their arguments, cites
various elements of proof that the Holocaust never took place, and presents his version of the
history of the Jewish people in World War II.

Hason goes on to describe the attitude of the State of Israel toward the subject of the Holocaust;
he makes reference to the reparation agreement with Germany and claims that Israel uses the


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subject in order to achieve unity among the Jewish people and as a tool for the exertion of
diplomatic pressure in order to ensure the world’s support of its actions. The author ends with a
quote from Jurgen Graf’s book, Holocaust Under the Microscope [known in English as
Holocaust on the Test Stand], translated by the Iraqi author Jawad Bashara, who considers the
Holocaust as both a source of strength and the weak point of the Zionist movement, and
accordingly calls for an attack on this subject.

On the occasion of the 32nd anniversary of the establishment of the Popular Front and the
12th anniversary of the intifada:

Mass Public Celebrations in the Palestinian [West] Bank

The article reviews the events in the West Bank in commemoration of the 32nd anniversary of
the establishment of the Popular Front and the 12th anniversary of the intifada.

Tulkarem: The Popular Front for the Liberation of Palestine held a public rally on December 6,
led by Popular Front members Jamal Barham and Alam al-Hamed Allah and with the
participation of public personages, other Popular Front members and many local residents. The
rally included an appearance by the artist Amjad Arar and speeches by politicians: Abbas Zaki, a
member of the Fatah Central Committee; Kayes Abd al-Rahim, a member of the political bureau
of the Democratic Front for the Liberation of Palestine; Abd al-Majid Hamdan, a member of the
General Secretariat of the Palestinian People’s Party; and Abu Ali Mustafa, Deputy Secretary
General of the Popular Front. The latter called for the resumption of the way of struggle,
notwithstanding the damage which was caused as a result of the Oslo Agreements; he advocated
terminating the negotiations with Israel, holding a Palestinian dialogue, adhering to the
Palestinian national convention and program, reconstructing the PLO institutions on a
democratic basis, and eliminating corruption within the Palestinian Authority.

Ramallah: The Popular Front in Ramallah held a number of activities in the area to
commemorate the anniversary of its establishment and of the intifada. These activities included
the decoration of streets in the cities and villages with Palestinian Authority and Popular Front
flags, posters and propaganda slogans, the installation of loudspeakers and the playing of music.
In addition, a festive procession, with the participation of people wearing masks, took place in
Ramallah; the participation included the burning of Israeli, American and British flags and
outcries against the Oslo Agreements and in favor of continuing the struggle. The rally at the end
of the procession was attended by Front members Abu Lili, Amar Asaf and others, along with
delegations from other parties, such as FIDA [the Palestinian Democratic Union] and the
Palestinian Popular Struggle Front. Among the speakers at the rally were Salah Raafat, Sheikh
Abu Massab Hassan Yusuf, Abd al-Jawad Salah and a member of the Popular Front, Bashir al-
Hiri.




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Hebron District: On December 4, 1999, a procession took place with the participation of people
wearing masks. In the course of the procession, Popular Front members expressed their
opposition to the granting of citizenship to Palestinian refugees in exile and their support of the
right of return; pictures of shahids were displayed and an Israeli flag was burned. The procession
was given local and worldwide media coverage, including by Israel Television. At a rally that
followed the procession, the speakers included Popular Front members Badran Jabbar and Sara
Amtir, along with speakers from other organizations. In an additional event, which was held on
December 11 with the participation of representatives from various parties, Abbas Zaki delivered
a speech.

Nablus District: On December 24, 1999, a procession took place with the participation of local
public personages, members of academia and educators, along with Popular Front members
Yusuf Abd al-Haq and Abu Ali Mustafa. Mustafa reviewed the struggle between the Palestinian
movement and the Zionist movement and Israel, and expressed opposition to the arrangement
and to recognition of the Zionist entity.

Jenin District: On December 17, 2000, the Popular Front held an open conference in Arabeh with
the participation of Abu Ali Mustafa, Kayes Abd al-Karim Abu Lili, Salah Raafat and Abbas
Zaki, who discussed the diplomatic situation, presented the positions of their parties and
answered questions of the public.


Al Hadaf 1308, July 31, 2000 (Exhibit 1-H)
The lead article emphasizes the failure of the Camp David Conference: “Our people has proved
once more that it demands to obtain all of its rights. The members of our people have said [that
they are] prepared for sacrifice in exchange for obtaining their rights.” The conclusion of the
article from the failure of the conference is that the Palestinians must prepare themselves for a
new round of confrontations with Israel.

The announcement summing up the sixth Popular Front Conference, which was held in the
territories and in Syria. Dr. George Habash announced that he did not have the intention of
running again in the elections for the position of Secretary General.

Following are the important resolutions passed at the conference:

     1)    Opposition to the continuation of negotiations, based on the argument that since the
           Madrid Conference and its continuation in Oslo, the Palestinians have not achieved
           their objective. The necessary response by the PLO is the declaration of an
           independent state, with no negotiations with Israel.




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